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                       UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF MISSISSIPPI
                            NORTHERN DIVISION

SECURITIES AND EXCHANGE                         No: 3:18-cv-252
COMMISSION,
                                                Carlton W. Reeves, District Judge
            Plaintiffs,                         F. Keith Ball, Magistrate Judge

     v.

ARTHUR LAMAR ADAMS AND
MADISON TIMBER PROPERTIES, LLC,

            Defendants.




                          RECEIVER’S FEE APPLICATION
          for the time period beginning April 1, 2021 and ending May 31, 2021

                                    June 30, 2021




                                               /s/ Alysson Mills
                                       Alysson Mills, Miss. Bar No. 102861
                                       650 Poydras Street Suite 1525
                                       New Orleans, Louisiana 70130
                                       Telephone: 504-586-5253
                                       Fax: 504-586-5253
                                       amills@millsamond.com
                                       Receiver for Arthur Lamar Adams and
                                       Madison Timber Properties, LLC
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Introduction

           For many years Arthur Lamar Adams, through his companies Madison Timber Company,
LLC and Madison Timber Properties, LLC, operated a Ponzi scheme that defrauded hundreds of
investors. On May 9, 2018, Adams pleaded guilty to the federal crime of wire fraud. On October
31, 2018, he was sentenced to 19.5 years in prison.

           On June 22, 2018, the Court appointed me receiver of the estates of Adams and Madison
Timber. The order of appointment sets forth my responsibilities and duties and provides that I shall
receive reasonable compensation and reimbursement from the Receivership Estate.1 The Court has
instructed me to file a fee application “[w]ithin 30 days after the end of every 60-day period while
the Receivership is in effect.”2

           This is my fee application for the approximately 60-day period beginning April 1, 2021
and ending May 31, 2021. It contains the following parts:

                                                                                  page
                            Receivership fee applications, generally                3
                            Pre-established billing parameters                      4
                            Receivership Estate’s fees and expenses                 5
                            Conclusion                                              8
                            Receiver’s declaration                                  9


           The Securities and Exchange Commission has received and reviewed this fee application.
It has no objections.




1
    Doc. 33, Securities & Exchange Commission v. Adams, et al., No. 3:18-cv-00252 (S.D. Miss.).
2
    Doc. 43 at p. 2, Securities & Exchange Commission v. Adams, et al., No. 3:18-cv-00252 (S.D. Miss.).


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Receivership fee applications, generally

         A receiver’s duties “are unique to the facts and circumstances of each case.”3 It follows
that a receiver’s fees and expenses vary with the facts and circumstances of each case. The
appointing court has broad discretion to determine the reasonableness of a receiver’s fees and
expenses.4

         As before, in the course of preparing this fee application, I reviewed fee applications
submitted by receivers in other Ponzi scheme cases, including Securities and Exchange
Commission v. Stanford International Bank, Ltd., et al., No. 09-cv-0298 (N.D. Tex.) (“Stanford”);
U.S. Commodity Futures Trading Commission v. Trevor Cook, et al., No. 09-cv-3332 (D. Minn.)
(“Cook/Kiley”); and Securities and Exchange Commission v. John Scott Clark et al., No. 1:11-cv-
46 (D. Utah) (“Clark”).

         Fee applications vary in format but provide the same basic content: a summary of work to-
date, a statement of hours expended by professionals, a calculation of professional fees based on
applicable hourly rates, a statement of expenses incurred in the ordinary course of business, and a
declaration that all fees and expenses are accurate and reasonable. I provide the same basic content
here.

         Although fee applications are filed in the court’s public record, the underlying records of
each professional’s time typically are not. This is because such records necessarily include
confidential information (such as victims’ names) and information subject to attorney-client or
other privileges. To publish such information in the court’s public record also would risk disclosing
the receiver’s legal strategies to defendants. For these reasons, I provide underlying records of
each professional’s time only to the Court.

         This fee application is for the approximately 60-day period beginning April 1, 2021 and
ending May 31, 2021. As before, I offer the following context:




3
 7 Bus. & Com. Litig. Fed. Cts. § 79:48 (4th ed.).
4
 “It is well settled that such allowances are largely within the discretion of the district court . . . .” Commodity Credit
Corp. v. Bell, 107 F.2d 1001, 1001 (5th Cir. 1939).


                                                                                                                         3
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          The Stanford receiver’s eighteenth fee application, filed in 2012, asked for a total of
$1,154,058.51 in fees for two months’ work.5 That fee application was granted with a 10%
holdback for certain expenses. Of course, at $7.2 billion, the Stanford Ponzi scheme was
considerably bigger than the Ponzi scheme in this case.

          The Cook/Kiley Ponzi scheme, at $190 million, is closer in size. The Cook/Kiley receiver’s
nineteenth fee application, for September and October 2012, asked for $225,279.37 in fees for two
months’ work. That fee application was paid in full.6

          The Clark Ponzi scheme, at $47 million, was considerably smaller than the Ponzi scheme
in this case. The Clark receiver’s eighteenth fee application, filed in 2015, asked for a total of
$26,285.50 in fees for three months’ work. That fee application was paid in full.7


Pre-established billing parameters

          The Court’s order of appointment provides that I shall bill at $275 an hour, and that my
counsel shall bill at rates not to exceed $275 an hour, with the exception of Brent Barriere, who
shall bill at $325 an hour.8

          The Court’s order of appointment authorizes me to incur expenses and make payments as
in the ordinary course of business of the Receivership Estate9 and, separately, to employ persons
to assist me in carrying out my duties as Receiver.10

          Any compensation or reimbursement “will be interim and will be subject to cost-benefit
and final reviews at the close of the receivership.”11 Any fee application may, in the Court’s
discretion, be subject to a holdback in the amount of 25%.12


5
 Doc. 1682, Securities & Exchange Commission v. Stanford International Bank, Ltd., et al., No. 3:09-cv-0298
(N.D. Tex.).
6
    Doc. 974, U.S. Commodity Futures Trading Commission v. Trevor Cook, et al., No. 09-cv-3332 (D. Minn.).
7
  Doc. 737, Securities and Exchange Commission v. John Scott Clark et al., No. 1:11-cv-46 (D. Utah).
8
  Doc. 33 at p. 4, Securities & Exchange Commission v. Adams, et al., No. 3:18-cv-00252 (S.D. Miss.).
9
  Doc. 33 at p. 7–8, Securities & Exchange Commission v. Adams, et al., No. 3:18-cv-00252 (S.D. Miss.).
10
   Doc. 33 at p. 8, Securities & Exchange Commission v. Adams, et al., No. 3:18-cv-00252 (S.D. Miss.).
11
   Doc. 33 at p. 14, Securities & Exchange Commission v. Adams, et al., No. 3:18-cv-00252 (S.D. Miss.).
12
   Doc. 33 at p. 14–15, Securities & Exchange Commission v. Adams, et al., No. 3:18-cv-00252 (S.D. Miss.).


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Receivership Estate’s fees and expenses

           Fees

           The Receivership Estate’s fees, including Receiver’s fees and Receiver’s counsel’s fees,
for the approximately 60-day period beginning April 1, 2021 and ending May 31, 2021 are:

                                                              Rate      Hours                  Total
         Receiver’s fees
         Alysson Mills                                       $275            13          $3,575.00

         Receiver’s counsel’s fees
         Brent Barriere                                      $325         40.8          $13,260.00
         Lilli Bass                                          $275           13           $3,575.00
         Kristen Amond                                       $220        26.41           $5,810.20
         Fishman Haygood, other attorney                     $275            0                  $0
         Fishman Haygood, other attorney                     $220            0                  $0
         Paralegal                                           $150          4.4               $660
                                                                                        $26,880.20


           These fees are for work described in my Receiver’s Reports filed on April 27, 2021 and
June 30, 2021.13 In addition to litigating the lawsuits styled Alysson Mills v. Butler Snow, et al.,
No. 3:18-cv-866; Alysson Mills v. BankPlus, et al., No. 3:19-cv-196; Alysson Mills v. The UPS
Store, Inc., et al., No. 3:19-cv-364; and Alysson Mills v. Trustmark, et al., No. 3:19-cv-941 (see
“Contingency fee cases—hours not billed,” below), my colleagues and I continued to administer
business of the Receivership Estate. During the approximately 60-day period beginning April 1,
2021 and ending May 31, 2021, my colleagues and I: litigated objections to the sale of the last 100
acres of undeveloped land in Lafayette County, Mississippi, formerly owned by Oxford Springs,
LLC, for $540,000 pursuant to 28 U.S.C. § 2001(b) and free and clear of liens, encumbrances, and
related obligations or claims; continued to fight the bankruptcy discharge of Bill McHenry’s
$3,473,320 debt to the Receivership Estate, including by defending a favorable summary judgment
against McHenry, which denies him a bankruptcy discharge of his debt; continued to monitor


13
     Docs. 251 and 288, Securities & Exchange Commission v. Adams, et al., No. 3:18-cv-00252 (S.D. Miss.).


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recruiter defendants’ compliance with settlement agreements; continued to communicate with
investors in Madison Timber via phone, letter, email, and in-person meetings. Time records for
the approximately 60-day period beginning April 1, 2021 and ending May 31, 2021 shall be
separately provided to the Court for in camera review.

       Of the hours recorded above, 10.87 hours, or $2,531.65, were spent on the lawsuit Alysson
Mills v. Michael D. Billings, et al., No. 3:18-cv-679. In the Billings case we already obtained
settlements from Wayne Kelly and Mike Billings worth approximately $2,000,000 and $800,000,
respectively, and obtained a judgment against Bill McHenry for $3,473,320. The hours recently
recorded reflect time spent defending a favorable summary judgment against McHenry, which
denies him a bankruptcy discharge of his debt. We litigate cases such as this on an hourly fee basis
because they are not time- or cost-intensive, therefore we believe a contingency fee would be
unfair to the Receivership Estate.

       My colleagues and I are sensitive to the Receivership Estate’s limited resources and we
hope our fees reflect that. We have not charged for work that we believe was duplicative. We have
not charged for travel. Our agreed-upon rates generally are lower than market rates.


       Expenses

       The Receivership Estate’s expenses for the approximately 60-day period beginning April
1, 2021 and ending May 31, 2021 are:

            Printer and copier charges                                        $612.60
            Express mail and postage                                        $1,792.95
            Westlaw research and PACER fees                                   $122.33
            Lexbe data storage                                                $331.68
            Sale of 100 acres—notice in Clarion Ledger                        $576.60
            Sale of 100 acres—expert testimony                              $4,075.00
                                                                            $7,511.16
       Most of these expenses are self-explanatory and are the kinds of expenses typically
incurred in any legal matter. The sale of the last 100 acres of undeveloped land in Lafayette




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County, Mississippi, formerly owned by Oxford Springs, LLC, required public notice and a full-
day hearing featuring the expert testimony of three appraisers.


          Contingency fee cases—hours not billed

          In addition to the hours reported above, my counsel and I have recorded a total of 2,711.13
hours on the lawsuits Alysson Mills v. Butler Snow, et al., No. 3:18-cv-866; Alysson Mills v.
BankPlus, et al., No. 3:19-cv-196 (S.D. Miss.); Alysson Mills v. The UPS Store, Inc., et al., No.
3:19-cv-364 (S.D. Miss.); and Alysson Mills v. Trustmark, et al., No. 3:19-cv-941 (S.D. Miss.). I
have not billed the Receivership Estate for this time. I believe billing the Receivership Estate for
the time spent on these and possibly other lawsuits will deplete the Receivership Estate’s limited
resources. Vigorous litigation against well-resourced defendants makes lawsuits such as these
costly.

          In the interest of conserving the Receivership Estate’s limited resources, my counsel has
agreed to represent the Receivership Estate in these lawsuits on a contingency fee, or success-
based, arrangement. Fishman Haygood, LLP shall advance all costs and out-of-pocket expenses
and bear the entire risk of any losses. This arrangement is consistent with the Court’s order of
appointment14 and separate order regarding fee arrangement.15

          Of course any fee arrangement is subject to the continuing oversight of the Court—and any
fees paid by the Receivership Estate, whether on an hourly basis or as a contingency fee, are subject
to the Court’s review and approval at an appropriate time. No contingency fee will be paid without
proper notice and application.


Conclusion

          I believe our team is providing excellent value for cost—particularly when viewed in the
context of other receiverships, which at this point cost many multiples more per day.



14
   Doc. 43 at p. 10, Securities & Exchange Commission v. Adams, et al., No. 3:18-cv-00252 (S.D. Miss.) (the
Receiver shall make “a recommendation as to whether litigation against third parties should be commenced on a
contingent fee basis to”).
15
   Doc. 154, Securities & Exchange Commission v. Adams, et al., No. 3:18-cv-00252 (S.D. Miss.).


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       On May 17, 2021, the Court approved a first distribution of $17,500,000 to Madison
Timber’s victims. Today, the Receivership Estate has $1,379,861.08 in the bank.

       The Receivership Estate’s four biggest lawsuits (see “Contingency fee cases—hours not
billed,” above) today are its most valuable assets. I anticipate that the next few months will require
substantial work by counsel, and possibly experts, as we prosecute those lawsuits. Fishman
Haygood, LLP of course advances all costs and out-of-pocket expenses in those lawsuits, but I
nevertheless closely monitor all work for inefficiencies and unnecessary expense.




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                          UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF MISSISSIPPI
                               NORTHERN DIVISION

 SECURITIES AND EXCHANGE                               No: 3:18-cv-252
 COMMISSION,
                                                       Carlton W. Reeves, District Judge
               Plaintiffs,

        v.

 ARTHUR LAMAR ADAMS AND
 MADISON TIMBER PROPERTIES, LLC,

               Defendants.




                             DECLARATION OF ALYSSON MILLS

       In support of the foregoing fee application for the approximately 60-day period beginning
April 1, 2021 and ending May 31, 2021, I declare:

   1. This application and all fees and expenses described in it are true and accurate.
   2. The fees and expenses were incurred in the best interests of the Receivership Estate.
   3. The fees are based on the rates agreed-upon in advance, which rates are reasonable,
       necessary, and commensurate with the skill and experience required for the work
       performed.
   4. The fees are supported by records for time spent on services rendered, which I have
       separately provided to the Court for in camera review. The records set forth in reasonable
       detail an appropriate narrative description of the services rendered. The description
       includes indications of the participants in, as well as the scope, identification, and purpose
       of the activity that is reasonable under the circumstances.
   5. The fees do not include time spent on the preparation of this application or its supporting
       documentation.
   6. The expenses are supported by receipts or equivalent documents, which I have separately
       provided to the Court for in camera review.



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7. With the exception of professionals I retained with the Court’s prior approval, I have not
   entered into any agreement, written or oral, express or implied, with any person or entity
   concerning the amount of compensation paid or to be paid from the Receivership Estate or
   any sharing thereof.




   DATED: June 30, 2021
                                        Alysson Mills
                                        Receiver




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